             Case 24-12480-LSS                 Doc 1415          Filed 05/06/25           Page 1 of 1


UNITED STATES BANKRUPTCY COURT                                                                                 Page 1 of 1

DISTRICT OF DELAWARE
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      24-12480

      Franchise Group, Inc. and Freedom VCM Interco, Inc.




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      Case Number :                     24-12480
      Case Title :                      Franchise Group, Inc. and Freedom VCM Interco, Inc.
      Judge :                           Laurie S. Silverstein
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